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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 25-cv-01032-REB-CYC

 ZEPHERINE MILLER, an individual,

        Plaintiff,

 v.

 EQUIFAX INFORMATION SERVICES, LLC, a Georgia limited liability company;
 EXPERIAN INFORMATION SOLUTIONS, INC., an Ohio corporation; and
 TRANS UNION LLC, a Delaware limited liability company,

       Defendants.
 ______________________________________________________________________________

                                   MINUTE ORDER
 ______________________________________________________________________________
 Entered by Cyrus Y. Chung, United States Magistrate Judge, on April 1, 2025.

        The above-captioned case has been referred to Magistrate Judge Cyrus Y. Chung
 pursuant to an Order of Reference entered by Senior Judge Robert E. Blackburn on April 1,
 2025. ECF No. 4.

         Pursuant to the Order of Reference, this Court will hold the Fed. R. Civ. P. 16(b)
 Scheduling Conference on June 4, 2025 at 10:00 a.m. in Courtroom C-205, on the second floor
 of the Byron G. Rogers United States Courthouse located at 1929 Stout Street, Denver,
 Colorado.

         It is ORDERED that Plaintiff shall notify all Parties who have not entered an appearance
 of the date and time of the Scheduling Conference.

         If this date is not convenient for any Party, the Parties shall confer regarding potential
 alternate dates. If the Parties agree upon a date or dates, they must jointly email my chambers to
 obtain an alternate date. If the Parties cannot agree, any Party seeking to change the conference
 date must file a motion. Absent exceptional circumstances, no request for rescheduling will be
 entertained unless made at least seven days prior to the date of the conference.

         Litigants and counsel whose offices are located outside of the Denver metropolitan area
 or who cannot reasonably make a personal appearance may appear at the Scheduling Conference
 by telephone. Please email Chambers, copying all Parties, at least five days prior to the
 Scheduling Conference to arrange appearance by telephone. Litigants and counsel appearing by
 telephone must ensure that the proposed Scheduling Order is filed electronically and submitted
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 to Chambers by email no later than seven days prior to the Scheduling Conference, in
 accordance with the instructions in this Minute Order.

         It is further ORDERED that counsel for the Parties and any unrepresented non-prisoner
 Parties in this case are to hold a meeting in accordance with Fed. R. Civ. P. 26(f) on or before
 May 14, 2025 and jointly prepare a proposed Scheduling Order. Pursuant to Fed. R. Civ. P.
 26(d), only requests pursuant to Fed. R. Civ. P. 34 may be submitted before the Rule 26(f)
 meeting, unless otherwise ordered or directed by the Court. Pursuant to Fed. R. Civ. P.
 34(b)(2)(A), responses to such discovery requests must be submitted no later than thirty days
 after the Rule 26(f) meeting, unless the Parties stipulate or the Court orders otherwise.

       The Parties shall prepare the proposed Scheduling Order in accordance with the form that
 may be downloaded from the Forms section of the Court’s website, www.cod.uscourts.gov.

        The Parties shall file the proposed Scheduling Order with the Clerk’s Office, and in
 accordance with District of Colorado Electronic Case Filing (“ECF”) Procedures, no later than
 seven days prior to the scheduling conference. The proposed Scheduling Order is also to be
 submitted in Word format by email to Magistrate Judge Chung at
 Chung_Chambers@cod.uscourts.gov.

         Parties not participating in ECF shall file their proposed Scheduling Order on paper with
 the clerk’s office. However, if any Party in this case is participating in ECF, it is the
 responsibility of that Party to file the proposed scheduling order pursuant to the District of
 Colorado ECF Procedures.

        Any out-of-state counsel shall comply with D.C.COLO.LAttyR 3 prior to the scheduling
 conference.

          The Parties are further advised that they shall not assume that the Court will grant the
 relief requested in any motion. Failure to appear at a court-ordered conference or to comply with
 a court-ordered deadline which has not been vacated by the Court may result in the imposition of
 sanctions.

       In addition, before filing a motion relating to a discovery dispute, the Parties must
 comply with Judge Chung’s Practice Standards regarding discovery disputes.

        Anyone seeking entry into the Byron G. Rogers United States Courthouse will be
 required to show a valid photo identification. See D.C.COLO.LCivR 83.2(b).




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